Case: 1:14-cv-09412 Document #: 485 Filed: 08/03/22 Page 1 of 1 PageID #:28466

                    UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                               Eastern Division

United States of America, et al.
                                              Plaintiff,
v.                                                         Case No.: 1:14−cv−09412
                                                           Honorable Harry D. Leinenweber
Takeda Pharmaceuticals America, Inc., et
al.
                                              Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, August 3, 2022:


        MINUTE entry before the Honorable Harry D. Leinenweber: Trial ends − jury.
The jury returns a verdict in favor of the plaintiffs and against the defendants in the
amount of $61,229,217.00. Judgment is entered on the verdict. A final civil judgment
order as determined by statute and attorneys' fees will be entered at a later time. Mailed
notice (maf)




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